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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 9, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION
     ------------------------------------------------------------
     In re                                                        § Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  § No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------
                        AMENDED STIPULATION AND SCHEDULING ORDER




     1
              The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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        Upon consideration of the Amended Stipulation and Proposed Scheduling Order [Adv.

Dkt. No. 95] (the “Stipulation”)2 by and between Plaintiffs UBS Securities LLC and UBS AG

London Branch (together, “UBS”) and Defendant Highland Capital Management, L.P. (the

“Debtor,” and together with UBS, the “Parties”), it is HEREBY ORDERED THAT:

        1.       The Stipulation is APPROVED.

        2.       The Stipulation shall be effective immediately.

        3.       The Parties shall follow the below pretrial schedule (the “Joint Pretrial Schedule”)

in lieu of that provided in the Order Regarding Adversary Proceedings Trial Setting and

Alternative Scheduling Order [Adv. Dkt. No. 9]:

                                                Joint Scheduling Order

                                              Event                                   Deadline

                    1     Service of Written Discovery Requests             July 2, 2021
                    2     Service of Written Responses to                   July 23, 2021
                          Discovery
                    3     Completion of Fact Discovery                      August 6, 20213
                    4     Expert Disclosures                                August 13, 2021
                    5     Completion of Expert Discovery                    August 27, 2021
                    6     Dispositive Motions                               September 3, 2021
                    7     Exhibit and Witness Lists                         September 20, 2021
                    8     Joint Pretrial Order                              September 27, 2021
                    9     Proposed Findings of Fact and                     September 27, 2021
                          Conclusions of Law
                   10     Trial Docket Call                                 October 4, 2021 at
                                                                            1:30 p.m. (CT)
                   11     Trial Week Begins                                 October 17, 2021




2
        A copy of the Stipulation is attached hereto as Exhibit A.
3
        Ms. Mary Katherine Lucas’ deposition will be taken within thirty days after the termination of her maternity
leave. See Order Granting Plaintiffs’ Motion to Compel and Denying Motion of Former Employees to Quash
Subpoenas [Adv. Dkt. No. 94].


                                                         2
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       4.      The Joint Pretrial Schedule set forth in this Order shall only be modified in a writing

signed by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

       5.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Order.

                                       ### End of Order ###




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                                EXHIBIT A




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Counsel for UBS Securities LLC and
UBS AG London Branch
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------
           AMENDED STIPULATION AND PROPOSED SCHEDULING ORDER

        This amended stipulation (the “Amended Stipulation”) is made and entered into by and

between Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”) and

Defendant Highland Capital Management, L.P. (the “Debtor,” and together with UBS, the

“Parties”), by and through their respective undersigned counsel.

                                                  RECITALS

        WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

Court”);




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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           WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue

of the Debtor’s bankruptcy case (the “Bankruptcy Case”) to this Court;

           WHEREAS, on March 31, 2021, UBS commenced the above-captioned adversary

proceeding (the “Adversary Case”) against the Debtor by filing its complaint [Adv. Dkt. No. 3]

(the “Complaint”);

           WHEREAS, on April 1, 2021, the Court issued the Order Regarding Adversary

Proceedings Trial Setting and Alternative Scheduling Order [Adv. Dkt. No. 9] (the “Alternative

Scheduling Order”);

           WHEREAS, on May 14, 2021, the Parties filed a Stipulation and Proposed Scheduling

Order [Adv. Dkt. No. 69];

           WHEREAS, on May 15, 2021, Scott Ellington, Isaac Leventon, Matthew DiOrio, JP

Sevilla, and Kathryn Lucas (the “Employee Group”) filed the Motion of Former Employees to

Quash Subpoenas and Brief in Support [Adv. Dkt. 70], and on May 20, 2021, UBS filed Plaintiffs’

Motion to Compel and Response to Motion of Former Employees to Quash Subpoenas [Adv. Dkt.

74] (together, and including documents filed in support of and response to, the “Discovery

Motions”);

           WHEREAS, the Discovery Motions relate to discovery sought in this Adversary Case;

           WHEREAS, on June 24, 2021, the Court held a hearing on the Discovery Motions and

ordered the Employee Group to produce responsive documents within seven days and sit for

depositions within thirty days2;




2
    Ms. Lucas’ deposition will be taken within thirty days after the termination of her maternity leave.


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       WHEREAS, in light of ongoing fact discovery, including as contemplated by the Court’s

June 24, 2021 ruling, the Parties have conferred and desire to enter into a mutually agreeable

proposed amended schedule to alter pre-trial deadlines while maintaining the same dates for trial

docket call and trial as specifically set forth below.

       NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

Stipulation by the Court, it shall be SO ORDERED:

       1.      The Parties agree to the following amended schedule (the “Amended Proposed

Joint Scheduling Order”), in lieu of that provided in their earlier Stipulation and Proposed

Scheduling Order:

                                Amended Proposed Joint Scheduling Order

                                         Event                            Deadline

                  1    Service of Written Discovery Requests      July 2, 2021
                  2    Service of Written Responses to            July 23, 2021
                       Discovery
                  3    Completion of Fact Discovery               August 6, 2021
                  4    Expert Disclosures                         August 13, 2021
                  5    Completion of Expert Discovery             August 27, 2021
                  6    Dispositive Motions                        September 3, 2021
                  7    Exhibit and Witness Lists                  September 20, 2021
                  8    Joint Pretrial Order                       September 27, 2021
                  9    Proposed Findings of Fact and              September 27, 2021
                       Conclusions of Law
                 10    Trial Docket Call                          October 4, 2021 at 1:30
                                                                  p.m. (CT)
                 11    Trial Week Begins                          October 17, 2021


       2.      If approved by the Court, the Amended Proposed Joint Scheduling Order shall only

be modified in a writing signed by the Parties or upon the entry of an order of the Court entered

upon notice to the Parties.




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       3.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Amended Stipulation, subject to any

objection to the Court’s jurisdiction or core jurisdiction and subject to any motion for the

withdrawal of the reference, with respect to which all parties reserve their rights, if any.

                         [Remainder of this page intentionally left blank.]




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 Dated: June 29, 2021

 Respectfully submitted,

 By /s/ Sarah Tomkowiak                       By /s/ Robert Feinstein

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 Counsel for UBS Securities LLC and
 UBS AG London Branch




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                               CERTIFICATE OF SERVICE

        I, Martin Sosland, certify that this Amended Stipulation and Proposed Scheduling Order

was filed electronically through the Court’s ECF system, which provides notice to all parties of

interest.


        Dated: June 29, 2021

                                                           /s/ Martin Sosland




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